              Case 19-50505-btf11                 Doc 1      Filed 10/19/19 Entered 10/19/19 11:24:54                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MISSOURI

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Western Robidoux, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4006 South 40th Street
                                  Saint Joseph, MO 64503
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Buchanan                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Western Robidoux, Inc.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




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Debtor   Western Robidoux, Inc.                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Western Robidoux, Inc.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 18, 2019
                                                  MM / DD / YYYY


                             X   /s/ Connie S. Burri                                                      Connie S. Burri
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Victor F Weber                                                        Date October 18, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Victor F Weber 57361
                                 Printed name

                                 Merrick, Baker & Strauss, P.C.
                                 Firm name

                                 1044 Main Street, Suite 500
                                 Kansas City, MO 64105
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     816/221-8855                  Email address      bruces@merrickbakerstrauss.com

                                 57361 MO
                                 Bar number and State




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C
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A
s
M
a
x




                          Ace Delivery
                          3406 W. Colony Square
                          Saint Joseph MO 64506


                          Acetga
                          26537 Network Place
                          Chicago IL 60673-1265


                          Action Electric Corp.
                          923 S. 9th Street
                          Saint Joseph MO 64503


                          Air Filter Plus
                          1205 Cardinal Drive
                          Eudora KS 66025


                          Airway Furnance Company
                          2301 Frederick Avenue
                          Saint Joseph MO 64506


                          Allied Lithographing, Inc.
                          2199 E. 9th
                          Kansas City MO 64124


                          Americal
                          6620 F. Street
                          Omaha NE 68117


                          American Express
                          P.O. Box 650448
                          Dallas TX 75265


                          AmeriPride Linen
                          P.O. Box 1010
                          Bemidji MN 56619-1010


                          Aspire B.V.
                          WG-plein 400 1054HS
                          Amsterdam,The Netherlands


                          AT & T
                          P.O. Box 5001
                          Carol Stream IL 60197-5001
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                      AT & T 3
                      P.O. Box 5019
                      Carol Stream IL 60197-5019


                      AT & T Mobility
                      P.O. Box 6463
                      Carol Stream IL 60197-6463


                      Attorney General of the United States
                      U.S. Department of Justice
                      950 Pennsylvania Avenue, NW
                      Washington DC 20530-0001


                      Blue Cross Blue Shield
                      P.O. Box 419169
                      Kansas City MO 64179


                      Boehringer Ingelheim Vetmedica, Inc.
                      RA CT Corporation System
                      120 South Central Avenue
                      Saint Louis MO 63105


                      Boehringer Ingelheim, Inc.
                      P.O. Box 5849
                      Carol Stream IL 60197-5849


                      Bolin Hydraulic, Inc.
                      802 S. 9th
                      Saint Joseph MO 64501


                      Bonnett's Trailer Sales
                      P.O. Box 105
                      Stewartsville MO 64490


                      Bottcher
                      P.O. Box 644956
                      Pittsburgh PA 15264-4956


                      Breht Burri
                      2107 Grand Boulevard
                      Suite 208
                      Kansas City MO 64108
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                      Brian Burri
                      4006 S 40th Street
                      Saint Joseph MO 64503


                      Buchanan County Courthouse
                      Circuit Clerk's Office
                      411 Jules Street
                      Saint Joseph MO 64501


                      Bud Sewer Service
                      906 Monterey
                      Saint Joseph MO 64503


                      Burdiss
                      3439 Merriam Dr.
                      Shawnee KS 66203-1375


                      Burri Properties, LLC
                      4006 S. 40th Street
                      Saint Joseph MO 64503


                      Calibrated Forms Co., Inc.
                      P.O. Box 841741
                      Dallas TX 75284-1741


                      Cardmember Service
                      P.O. Box 790408
                      Saint Louis MO 63179-0408


                      Ceva Animal Health, LLC
                      8735 Rosehill Road - Suite 300
                      Lenexa KS 66215


                      Ceva Animal Health, LLC
                      RA CT Corporation System
                      120 South Central Avenue
                      Saint Louis MO 63105


                      Cindy Burri
                      4006 S 40th Street
                      Saint Joseph MO 64503


                      City of St. Joseph - 6
                      1100 Frederick - Rm 101A
                      Saint Joseph MO 64501
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                      Clayton Paper
                      P.O. Box 431419
                      Minneapolis MN 55443


                      Connie S. Burri
                      4006 S 40th Street
                      Saint Joseph MO 64503


                      Continental Western Group
                      P.O. Box 14558
                      Des Moines IA 50306-3558


                      Custom Waterworks
                      1611 Nebraska St.
                      Mound City MO 64470


                      Dave's Diesel Service, Inc.
                      4702 South 169 Hwy.
                      Saint Joseph MO 64507


                      Davis & Pierce Die Service, Inc.
                      6602A Royal Street
                      Liberty MO 64068


                      Department of Public Safety
                      P.O. Box 142
                      Jefferson City MO 65102


                      Department of Revenue
                      P.O. Box 3800
                      Jefferson City MO 65102


                      E & T Plastics of Missouri, LLC
                      45-45 37th Street
                      Long Island City NY 11101


                      Economy Express Trucking
                      2415 South 9th Street
                      Saint Joseph MO 64503


                      EFI - Electronics for Imaging
                      P.O. Box 742366
                      Los Angeles CA 90074-2366
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                      Engage Mobile Solutions
                      118 N. Conistor, Ste B 172
                      Liberty MO 64068


                      Engage Mobile Solutions, LLC
                      RA Darris Clawson
                      118 N Conistor Ln
                      Suite B172
                      Liberty MO 64068


                      Express Service, Inc.
                      P.O. Box 203901
                      Dallas TX 75320-3901


                      Fairway Lawn Care
                      6309 Oakridge Ct.
                      Saint Joseph MO 64505


                      Federal Express
                      P.O. Box 94515
                      Palatine IL 60095-4515


                      Federal Express Freight
                      PO Box 10306
                      Palatine IL 60055


                      Fellers
                      P.O. Box 875540
                      Kansas City MO 64187-5540


                      FujiFilm
                      Dept CH 10764
                      Palatine IL 60055-0764


                      Gary Barnes, Esq.
                      4801 Main Street
                      Suite 1000
                      Kansas City MO 64112


                      German May, PC
                      1201 Walnut, Suite 2000
                      Kansas City MO 64106
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                      Goodman Gravley Insurance Source
                      14812 West 117th Street
                      Olathe KS 66062


                      GPA Specialty Substrate Solutions
                      3906 Solutions Center
                      Chicago IL 60677-3009


                      Grainger
                      Dept. 8611347881
                      P.O. Box 419267
                      Kansas City MO 64141-6276


                      GRI
                      1911 Vernon
                      Kansas City MO 64116-4432


                      Grimco
                      29538 Network Place
                      Chicago IL 60673-1295


                      Halo Branded Solutions
                      3182 Momentum Place
                      Chicago IL 60689-0136


                      Heidelberg
                      P.O. Box 5160
                      Carol Stream IL 60197


                      Heritage-Crystal Clean, LlC
                      13621 Collections Center Drive
                      Chicago IL 60696-0136


                      Hewlett Packard Co. (Indigo America)
                      P.O. Box 415573
                      Boston MA 02241-5573


                      Iceco Leasing Co.
                      1716 Commercial St.
                      Saint Joseph MO 64503


                      Infodeli, LLC
                      RA Breht C. Burri
                      2107 Grand Blvd. Suite 208
                      Kansas City MO 64108
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                      Internal Revenue Service
                      Centralized Insolvency Operation
                      PO Box 7346
                      Philadelphia PA 19101-7346


                      Intuit
                      P.O. Box 2981
                      Phoenix AZ 85062-2981


                      JB Letterpress and Finishing
                      1527 Atlantic Street
                      Kansas City MO 64116


                      Joseph Keneth Eischens
                      8013 Park Ridge Drive
                      Kansas City MO 64152


                      K.C. Envelopes Company, Inc.
                      8638 N.E. Underground Dr.
                      Kansas City MO 64161-9721


                      Kastle Grinding, LLC
                      1110 S.E. Broadway Dr.
                      Lees Summit MO 64081


                      KBB Bindery, LLC
                      P.O. Box 270616
                      Kansas City MO 64127


                      KC Custom Signs
                      20215 S. State Route Y
                      Belton MO 64012


                      KCP&L
                      P.O. Box 219703
                      Kansas City MO 64121-9703


                      Kirkland, Woods & Martinsen, P.C.
                      132 Westwoods Drive
                      Liberty MO 64068
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                      Leonard Andrew Stephens
                      The Meyers Law Firm LC
                      503 One Main Plaza
                      4435 Main Street
                      Kansas City MO 64111


                      Liechti, Franken & Young, LLC
                      3801 Beck Road
                      Saint Joseph MO 64506


                      Lincoln Book Bindery
                      1601 N. Coler Avenue
                      Urbana IL 61801


                      Magna Plus
                      2828 S. 44th Street
                      Kansas City KS 66106


                      MailersMVP
                      887 Jonive Rd.
                      Sebastopol CA 95472


                      Mark Bric Display Corp.
                      P.O. Box 791026
                      Baltimore MD 21279-1026


                      Marmic Fire & Safety
                      P.O. Box 1939
                      Lowell AR 72745


                      Martin Mark Meyers, Esq.
                      The Meyers Law Firm, LC
                      4435 Main Street
                      Suite 503
                      Kansas City MO 64111


                      Matthew Barksdale
                      822 N Farley Ave
                      Kansas City MO 64157


                      McMaster-Carr Supply, Inc.
                      P.O. Box 7690
                      Chicago IL 60680-7690
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                      Menards
                      P.O. Box 60506
                      City of Industry CA 91716


                      Mid America Laminating
                      6636 Cedar Avenue
                      Kansas City MO 64133-5254


                      Midwest Alarm
                      P.O. Box 8067
                      Saint Joseph MO 64508


                      Midwest Office Supply
                      P.O. Box 7287
                      Saint Joseph MO 64507


                      Missouri American Water Co.
                      p.O. Box 790247
                      Saint Louis MO 63179-0247


                      Missouri Departent of Public Safety
                      P.O. Box 1421
                      Jefferson City MO 65102


                      Missouri Gas Energy
                      Drawer 2
                      Saint Louis MO 63171-0002


                      Muller Martini
                      P.O. Box 787196
                      Philadelphia PA 19178-7196


                      Navitor
                      P.O. Box 856740
                      Minneapolis MN 55485-6740


                      Nodaway Valley Bank
                      Attn: David W. Lewis, Jr.
                      1302 S. Riverside Rd.
                      Saint Joseph MO 64507


                      NPG Newspaper, Inc.
                      P.O. Box 29
                      Saint Joseph MO 64502
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                      NYLIAC
                      P.O. Box 742545
                      Cincinnati OH 45274-2545


                      OPC Direct
                      P.O. Box 3499
                      Omaha NE 68103-0499


                      Paul Anthony Maddock
                      100 N. Broadway, 17th Floor
                      Saint Louis MO 63102


                      Peter Burri
                      4006 S 40th Street
                      Saint Joseph MO 64503


                      Post Press Specialists
                      151 W. Geospace Drive
                      Independence MO 64056


                      Postmaster
                      201 S. 8th St.
                      Saint Joseph MO 64501


                      Praxair Distribution
                      Dept. CH 10660
                      Palatine IL 60055-0660


                      PressSense
                      14503 Gougar Road - Unit 1
                      Lockport IL 60441


                      Prestige Box Corporation
                      P.O. Box 428
                      Great Neck NY 11022-0428


                      Principal Financial Group
                      RA CT Corporation System
                      120 South Central Ave
                      Saint Louis MO 63105


                      Printers Service
                      Iron Bound Station
                      P.O. Box 5120
                      Newark NJ 07105-5120
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                      Priority Envelope Company
                      P.O. Box 860612
                      Minneapolis MN 55480-0612


                      ProServe
                      3920 Pettis Road
                      Saint Joseph MO 64503


                      Prudential
                      P.O. Box 856138
                      Louisville KY 40285


                      Reardon Machine
                      5015 SE Highway 169
                      Saint Joseph MO 64503


                      Reliance Paper Company
                      1404 West 12th Street
                      Kansas City MO 64101


                      Relyco Printing
                      121 Broadway
                      Dover NH 03820


                      River City Products Packaging
                      9900 Pflumm #33
                      Lenexa KS 66215


                      Rutherford's Consulting Service, LLC
                      34 NW 525th
                      Warrensburg MO 64093


                      Sam's Club
                      P.O. Box 530981
                      Atlanta GA 30353-0098


                      Same Day Freight
                      2670 Fairleigh Terrace
                      Saint Joseph MO 64506


                      Shane Fairchild
                      8210 NE 102nd Street
                      Kansas City MO 64157
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                      Southwest Plastic Binding Company
                      109 Millwell Drive
                      P.O. Box 150
                      Saint Joseph MO 64503


                      Specialty Industries
                      P.O. Box 1502
                      3801 S. Leonard Rd.
                      Saint Joseph MO 64502


                      Spire
                      B97: E97 Drawer 2
                      Saint Louis MO 63171


                      St. Joseph Area Chamber of Commerce
                      3003 Frederick Avenue
                      Saint Joseph MO 64506-5104


                      St. Joseph Rec Center
                      2701 SW Parkway Street
                      Saint Joseph MO 64503


                      Steven R. Kursh, LLC
                      P.O. Box 310748 Brickell Post Office
                      Miami FL 33231


                      Stouse, Inc.
                      300 New Century Pkwy
                      New Century KS 66031-1128


                      Suddenlink
                      P.O. Box 742535
                      Cincinnati OH 45274-2535


                      The City of St. Joseph
                      2701 SW Parkway
                      Saint Joseph MO 64503


                      Toobaroo, LLC
                      RA Breht Burri
                      5637 Gresham Circle
                      Kansas City MO 64152
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                      Toobaroo, LLC
                      14 North Fair Oaks Drive
                      Pasadena CA 91103


                      Travelers
                      P.O. Box 660317
                      Dallas TX 75266-0317


                      Turner Systems
                      8619 NW Brostrom Rd.
                      Kansas City MO 64152


                      U.S. Paper Counters
                      138 Elizabeth Terrace
                      P.O. Box 837
                      Cairo NY 12413


                      Uline
                      Attn: Accounts Receivable
                      P.O. Box 88741
                      Chicago IL 60680-1741


                      United States Attorney
                      Room 5510, U.S. Courthouse
                      400 E. 9th Street
                      Kansas City MO 64106


                      UPS-1
                      Lockbox 577
                      Carol Stream IL 60132-0577


                      Veritiv Operating Company - 1
                      7472 Collection Center Drive 3
                      Chicago IL 60693


                      Waste Management
                      P.O. Box 205216
                      Dallas TX 75320-5216


                      Western State Envelope
                      P.O. Box 205216
                      Dallas TX 75320-5216
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                      Westlake Hardware
                      PO Box 219370
                      Kansas City MO 64121


                      Xerox Corporation
                      PO Box 802555
                      Chicago IL 60680-2555


                      XMPie, Inc.
                      767 Third Avenue - 3rd Floor
                      New York NY 10017
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 Fill in this information to identify the case:
 Debtor name Western Robidoux, Inc.
 United States Bankruptcy Court for the: MISSOURI                                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AT & T Mobility                                                                                                                                                              $499.60
 P.O. Box 6463
 Carol Stream, IL
 60197-6463
 Blue Cross Blue                                                                                                                                                          $16,993.24
 Shield
 P.O. Box 419169
 Kansas City, MO
 64179
 Boehringer Ingelheim,                                                                                                                                                  $644,108.17
 Inc.
 P.O. Box 5849
 Carol Stream, IL
 60197-5849
 Ceva Animal Health,                                                                                                                                                    $602,658.56
 LLC
 8735 Rosehill Road -
 Suite 300
 Lenexa, KS 66215
 Engage Mobile                                                                                                                                                            $38,809.00
 Solutions
 118 N. Conistor, Ste
 B 172
 Liberty, MO 64068
 Federal Express                                                                                                                                                            $1,520.89
 Freight
 PO Box 10306
 Palatine, IL 60055
 GPA Specialty                                                                                                                                                                $628.50
 Substrate Solutions
 3906 Solutions
 Center
 Chicago, IL
 60677-3009
 Grimco                                                                                                                                                                     $1,726.49
 29538 Network Place
 Chicago, IL
 60673-1295

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Western Robidoux, Inc.                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Heidelberg                                                                                                                                                                   $574.92
 P.O. Box 5160
 Carol Stream, IL
 60197
 Hewlett Packard Co.                                                                                                                                                        $1,841.95
 (Indigo America)
 P.O. Box 415573
 Boston, MA
 02241-5573
 KBB Bindery, LLC                                                                                                                                                             $921.84
 P.O. Box 270616
 Kansas City, MO
 64127
 KCP&L                                                                                                                                                                      $3,746.51
 P.O. Box 219703
 Kansas City, MO
 64121-9703
 Kirkland, Woods &                                                                                                                                                          $2,968.75
 Martinsen, P.C.
 132 Westwoods Drive
 Liberty, MO 64068
 Magna Plus                                                                                                                                                                   $949.40
 2828 S. 44th Street
 Kansas City, KS
 66106
 Mark Bric Display                                                                                                                                                            $972.63
 Corp.
 P.O. Box 791026
 Baltimore, MD
 21279-1026
 Muller Martini                                                                                                                                                               $600.00
 P.O. Box 787196
 Philadelphia, PA
 19178-7196
 Navitor                                                                                                                                                                      $495.44
 P.O. Box 856740
 Minneapolis, MN
 55485-6740
 Steven R. Kursh, LLC                                                                                                                                                     $28,961.25
 P.O. Box 310748
 Brickell Post Office
 Miami, FL 33231
 Toobaroo, LLC                                                                          Disputed                                                                      $1,290,206.00
 RA Breht Burri
 5637 Gresham Circle
 Kansas City, MO
 64152
 Veritiv Operating                                                                                                                                                        $18,373.63
 Company - 1
 7472 Collection
 Center Drive 3
 Chicago, IL 60693


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                                                               United States Bankruptcy Court
                                                                                Missouri
 In re      Western Robidoux, Inc.                                                                          Case No.
                                                                                   Debtor(s)                Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Western Robidoux, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 18, 2019                                                      /s/ Victor F Weber
 Date                                                                  Victor F Weber 57361
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Western Robidoux, Inc.
                                                                       Merrick, Baker & Strauss, P.C.
                                                                       1044 Main Street, Suite 500
                                                                       Kansas City, MO 64105
                                                                       816/221-8855 Fax:816/221-7886
                                                                       bruces@merrickbakerstrauss.com




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